                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:12-CR-239-GCM-DCK


UNITED STATES OF AMERICA,                        )
                                                 )
                  Plaintiff,                     )
                                                 )
v.                                               )                        ORDER
                                                 )
JOHN MCDOWELL,                                   )
                                                 )
                 Defendant.                      )


       THIS MATTER IS BEFORE THE COURT on “Defendant’s Adoption By Reference

Of Motion To Dismiss Indictment Filed By John Wayne Perry” (Document No. 280) filed

August 15, 2013. For good cause shown, the undersigned will grant the motion to adopt. The

Court takes no position on the merits of the motion to dismiss at this time.

       IT IS THEREFORE ORDERED that “Defendant’s Adoption By Reference Of Motion

To Dismiss Indictment Filed By John Wayne Perry” (Document No. 280) is hereby GRANTED.


                                                Signed: August 19, 2013




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